EDUARDO G. DIAZ 2

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

AFFIRMATION OF VERIFIED TRUTHS AND FACTS AND
MOTION TO DISMISS SUMMARY JUDGMENT

 

 

 

MICHAEL GOLDBERG, Trustee, Andrew W.

Caine, Bradford J. Sandler, Colin Robinson, TION T I MM
Plaintiffs, JUDGMENT FOR FAILURE TO STATE A

TRUTHFUL AND FACTUAL CLAIM
v.
Case No: 19-51071-BLS
EDUARDO G. DIAZ,
Defendant.

 

 

VERIFIED TRUTHS AND FACTS

1. Eduardo Diaz (“Diaz”) comes before this court as a pro se litigant and is ignorant in the law. Mr.
Diaz objects to any attempt at a Summary Judgment in favor of the Plaintiffs and provides this

filing in a timely fashion before the October 4, 2021 deadline.
MOTION FOR EXTENSION NOT HONORED

2. On September 27, Eduardo Diaz received an instrument noticing him of summary judgment in

Bankruptcy Case No.: 17-12560-JKS.

3. Diaz is confused as on August 22, 2020, he filed with this court a motion for a 60 day extension.
See Exhibits A, B, D and D (Copy of Motion for extension, Mail Tracking #s EJ 403 586 515 US
EJ 403 586 501 US and Postal Receipt Dated 08/22/2020.

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4. Diaz never heard back from the court regarding his request for extension. Diaz made an honest

effort in this situation.

 

 

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Case No: 19-51071-BLS
FAILURE TO STATE A TRUTHFUL CLAIM

5. First, Mr Diaz will have no dispute with the investors’ allegations provided the Plaintiff’s provide

all necessary documentation needed by Diaz to prove he owes a debt to investors.

6. Plaintiff’s will also need to provide all direct evidence and first hand knowledge that Mr. Diaz

owes a debt and to provide a list of all real parties of interest.

7. Plaintiff's have not stated a truthful claim. Diaz demands the following documentation for proof of

an actual claim by Plaintiffs.
REQUEST FOR VERIFIED EVIDENCE REQUEST #1

8. An instrument filed with the court, Case #19-51071-BLS, filed 12/02/19 fails to provide any

evidence of wrongdoing by Diaz.

9. This instrument alleges the following wrongdoings by Mr. Diaz: 1) Avoidance & Recovery of
Avoidable Transfers; 2) Sales of Unregistered Securities; 3) Fraud; 4) Aiding & Abetting Fraud.
These allegations are based “upon information and belief’ with no direct evidence attached to this

instrument.

10.Therefore, Mr. Diaz requests the following verifiable evidence, first hand knowledge and any

forensic accounting necessary to prove his wrongdoings:

(a) On page 4, No. 14. Plaintiffs allege Mr. Diaz sold Notes and Units to unsuspecting investors.
Plaintiff’s must provide documentation that Mr. Diaz knowingly and willingly committed any

wrongdoings.

(b) Plaintiff’s must provide affidavits from all real parties of interest that they were not informed

of the investment vehicles and were not notified of the risks of investing;

(c) Mr. Diaz made materially false and fraudulent statements. Please provide affidavits from the

real parties of interest and now the Plaintiffs of all material and fraudulent statements;

(d) Please provide documentation of the jurisdiction Mr. Diaz was engaged in interstate commerce

and that he was subject to said jurisdiction.

11.Fraud Allegation on page 4.

 

 

 
 

(a) On page 5, No. 16 it is alleged by Plaintiffs that Mr. Diaz knew he was dealing with
unregistered securities. Please provide the direct evidence that Mr. Diaz knowingly and

willingly engaged in the sale of unregistered securities.

(b) On page 5, No. 19 it is alleged by Plaintiffs that Mr. Diaz was involved in a Ponzi Scheme.
Please provide all direct evidence and first-hand knowledge that Mr. Diaz knowingly and

willingly knew of a Ponzi scheme.

(c) Please provide all forensic accounting of ALL monies lost, and then returned to investors

under Mr. Diaz’s purview.
12.Aiding and Abetting Fraud on page 12.

(a) Provide verifiable direct evidence that Mr. Diaz knowingly and willingly engaged in aiding

and abetting fraud.

13.The Plaintiff’s continually express about all the wrongdoings of Mr. Shapiro but never utter Mr.

Diaz’s name. This is an attempt to trick the court by using guilt by association.
OBJECTION DEADLINE

14.Mr. Diaz’s Motion to Dismiss for failure to state a claim is timely.

15.Mr. Diaz, if necessary, will be very happy to attend a ZOOM call on October 29, 2021 if the

Plaintiffs provide all necessary verifiable direct evidence of his wrongdoings.

16.At this ZOOM meeting, Mr. Diaz will happily answer any questions regarding his relationship
with Woodbridge and that he was not aware of what Woodridge was doing regarding their

fraudulent action.
MOTION TO DISMISS SUMMARY JUDGMENT

Mr. Diaz gives the Plaintiffs 10 days to provide all requested documentation to prepare for the
potential ZOOM conference call. If there is no verifiable direct evidence in his possession by October 15,
2021, Mr. Diaz will inform this court as such and will presume the ZOOM call is canceled and the request

for summary judgment will be dismissed with prejudice.

Respectfully submitted,

 

 
( 7 . ) ? BY:

Eduardo Diaz Date 9/s o/ad

with explicit reservation of all rights

Affirmation of Eduardo Diaz

I, Eduardo Diaz under penalty of perjury, do ratify and confirm that all statements, declarations,
claims, and allegations expressed herein are true, correct, complete, and certain, to the best of my
knowledge and belief, with no intention to threaten, mislead or defraud under the provisions of the Bill of
Rights, and under the provisions of your Title 28 United States Code § 1746 and under the provisions of
your Title 18 United States Code § 1621.

Eduardo Diaz Date 9/30/21

with explicit reservation of all rights

CERTIFICATE OF SERVICE

| |, Eduardo Diaz, on the _J(0 day of September, 2021, | did post a true and correct copy of the
“MOTION TO DISMISS SUMMARY JUDGMENT FOR FAILURE TO STATE A TRUTHFUL
AND FACTUAL CLAIM’ in the Office of the Post with postage stamps, and mailed to: The
Clerk of Court, Bankruptcy Court for the District of Delaware, United States Bankruptcy Court
District Of Delaware

824 Market Street, 3rd Floor, Wilmington, DE 19801

 

 
 

cc: Messrs. Colin R. Robins, Richard M. Pachulski, Andrew W. Caine, Branford J. Sandler,
Michael Goldberg, Trustee in c/o the previous lawyers at PACHULSKI STANG ZIEHL & JONES
LLP, 919 North Market Street, 17" Floor, P.O. Box 8705, Wilmington, DE 19889 (Courier 19801)

 

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